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                           UNITED STATES DISTRICT COURT
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                                DISTRICT OF NEW JERSEY                             ATB:30
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      INREVALEANT                                   Master No.: 3:l 5-cv-07658-MAS-LHG
      PHARMACEUTICALS
      INTERNATIONAL, INC.                           JUDGE MICHAEL A. SHIPP
                                                    JUDGE LOIS H. GOODMAN
      SECURITIES LITIGATION
                                                    JUDGE DENNIS CAVANAUGH, RET.
      THIS DOCUMENT RELATES TO                      SPECIAL MASTER
      ALL CASES


                                JOINT DISCOVERY PLAN

           Pursuant to Fed. R. Civ. P. 26(f) and Local Civil Rule 26.l(b), the Class

     Action Plaintiffs, Opt-Out Litigation Plaintiffs, and Defendants submit this Joint

    Discovery Plan.

     I.    BRIEF STATEMENT OF FACTS AND LEGAL ISSUES
           A.    Class Action
           The securities class action, In re Valeant Pharms. Int'/, Inc. Sec. Litig., Master

     No. 3:15-cv-07658-MAS-LHG (the "Class Action"), is brought on behalf of a

     putative class of purchasers ofValeant equity securities and senior notes between

     January 4, 2013 and March 15, 2016 (the "Class" and "Class Period," respectively).

     The Consolidated Complaint filed on June 24, 2016 originally alleged nine counts

     pursuant to the Securities Exchange Act of 1934 ("Exchange Act"), Securities and

     Exchange Commission ("SEC") Rule l0b-5, 17 C.F.R. § 240.l0b-5, and the


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    Securities Act of 1933 ("Securities Act"), ECF. No. 80. 1 Lead Plaintiff, Teachers

    Insurance and Annuity Association of America ("TIAA"), named plaintiff, City of

    Tucson, together with and on behalf of the Tucson Supplemental Retirement System

    ("City of Tucson"), and additional named plaintifflBEW Local Union 481 Defined

    Contribution Plan and Trust (''IBEW'') (collectively, "Class Plaintiffs") allege that

    Valeant engaged in deceptive practices, which Defendants concealed through

    materially false and misleading statements and omissions. Plaintiffs allege that once

    Valeant's deceptive practices were disclosed to the public, the price of Valeant

    securities fell dramatically. Plaintiffs now seek compensatory damages and any

    other appropriate relief to which they are entitled. Not all claims are directed against

    each of the Defendants, some of whom are named only under one or a few counts.

    Defendants deny all liability as to all claims asserted against them.

          On April 28, 2017, the Court denied Defendants' motions to dismiss with

    regard to Counts One, Two, Seven, Eight, and Nine, and granted Defendants'

    motions to dismiss, without prejudice, with regard to Counts Three, Four, Five, and




    1  On September 20, 2018, Class Plaintiffs filed the First Amended Consolidated
    Complaint ("FAC") naming additional defendants and bringing two additional
    counts under the Exchange Act. ECF No. 352.


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    Six of the Consolidated Complaint. 2 All remaining Defendants in the Class Action

    answered this complaint following the Court's April 2017 ruling.

            On July 11, 2017, the parties to the Class Action submitted a proposed Joint

    Discovery Plan to the Court. No order was entered on the proposed Joint Discovery

    Plan.

            On July 21, 2017, the parties to the Class Action exchanged their initial

    disclosures pursuant to Fed. R. Civ. P. 26(a)(l).

            On October 12, 2017, the parties in the Class Action appeared before

    Magistrate Judge Goodman to discuss a jointly proposed scheduling order. Prior to

    entry of a scheduling order, on October 19, 2017, the Court entered an Order to Show

    Cause (ECF No. 273) as to whether the Court should stay the Class Action and the

    Opt-Out Litigations during the pendency of the criminal trial involving Philidor RX

    Services, LLC's ("Philidor") former CEO, Andrew Davenport, and former Valeant



    2
       Following the Court's ruling on the motions to dismiss, the remaining Defendants
    were: the "Valeant Defendants" (Valeant Pharmaceuticals International, Inc.,
    ("Valeant"), Robert L. Rosiello, Ari S. Kellen, Ronald H. Farmer, Colleen Goggins,
    Robert A. Ingram, Anders Lonner, Theo Melas-Kyriazi, Robert N. Power, Norma
    Provencio, Katherine B. Stevenson, and Jeffrey W. Ubben), separately represented
    individual defendants J. Michael Pearson, Howard B. Schiller, Tanya Carro, and
    Deborah Jorn; PricewaterhouseCoopers LLP ("PwC"); and, the "Stock Underwriter
    Defendants" (Deutsche Bank Securities, Inc., HSBC Securities (USA) Inc.,
    Mitsubishi UFJ Securities (USA), Inc., DNB Markets, Inc., Barclays Capital, Inc.,
    Morgan Stanley & Co. LLC, RBC Capital Markets, and SunTrust Robinson
    Humphrey, Inc.).


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    employee Gary Tanner. Following briefing, on November 29, 2017, the Court

    entered the Stipulation and Order Regarding Partial Stay (ECF No. 291) (the "Stay"),

    which stayed certain proceedings and discovery in the Class Action and the Opt-Out

    Litigations.

          On June 5, 2018, the Court issued a Letter Order lifting the stay in the Class

    Action. ECF No. 316.

          On June 11, 2018, the Court issued a Letter Order consolidating into the Class

    Action the case styled Timber Hill LLCv. Va/eant Pharms. Int'/, Inc., et al., No. 18-

    cv-10246 (D.N.J.), a recently-filed securities class action arising under the same

    facts and alleging violations of the same securities laws as the Class Action. ECF

    No. 318. On June 18, 2018, Timber Hill LLC filed a motion seeking relief from the

    Consolidation Order. ECF No. 322. On July 2, 2018, Lead PlaintiffTIAA filed its

    opposition to Timber Hill's motion. ECF No. 323. Timber Hill replied (ECF No.

    325) and Lead Plaintiff filed a motion to file a sur-reply (ECF No. 329). On

    November 7, 2018, the Court issued a Memorandum Opinion (ECF No. 392) and

    Order (ECF No. 393) denying Timber Hill's motion for relief from the Consolidation

    Order, denying Timber Hill's motion for appointment      as lead plaintiff (ECF No.
    334) as moot and denying Lead Plaintiff's motion to strike (ECF No. 335) as moot.

          On July 3, 2018, the parties submitted a revised proposed Joint Discovery Plan

    to the Court. No order was entered on the revised proposed Joint Discovery Plan.


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    On September 7, 2018, the parties submitted another, similar proposed Joint

    Discovery Plan. No order was entered on this proposed Joint Discovery Plan.

          On September 20, 2018, consistent with the deadline set forth in the parties'

    proposed Joint Discovery Plans referenced in the preceding paragraph, Class

    Plaintiffs filed the FAC naming additional defendants and bringing insider trading

    claims (see Counts III and IV of the FAC). ECF No. 352. The FAC's insider trading

    claims are brought against ValueAct Capital Management L.P., ValueAct Capital

    Master Fund, L.P., ValueAct Co-Invest Master Fund, L.P., VA Partners I, LLC,

    ValueAct Holdings, L.P., and Defendant Ubben (collectively, the "Va]ueAct

    Defendants").

          On September 26, 2018, counsel for all parties appeared before Magistrate

    Judge Goodman at an in-person status conference. During the conference, the

    parties and the Court addressed the July 3, 2018 proposed Joint Discovery Plan, the

    amendment of the Consolidated Complaint, the anticipated motion to dismiss from

    the ValueAct Defendants, and the potential impact of that motion on the parties'

    proposed discovery plan, including whether discovery would be stayed by operation

    of the PSLRA.     Judge Goodman directed that Class Plaintiffs seek an order

    permitting the amendment of the Consolidated Complaint. On October 10, 2018,

    Judge Goodman entered a consent order accepting the filing of the FAC nunc pro

    tune. ECF No. 366. Additionally, several parties subsequently submitted letters to



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    the Court regarding whether discovery should be stayed (see ECF Nos. 370-373).

    On November 13, 2018, the parties submitted a stipulation and proposed order to the

    Court in an effort to address whether the PSLRA discovery stay applied. ECF No.

    396. Although the Court did not issue an order on the stipulation, the parties abided

    by its terms and agreed to stay discovery as to the parties in this actions while

    allowing document discovery of non-parties to continue.

          On September 28, 2018, Class Plaintiffs served their motion for class

    certification, accompanying memorandum of law, and supporting declarations and

    exhibits on Defendants. Following the Court's previous instructions, the parties will

    submit all class certification briefing to the Special Master when the motion is fully

    briefed pursuant to the schedule established by the Special Master.

          On October 4, 2018, counsel for Class Plaintiffs and Defendants stipulated to

    the dismissal of Counts V, VI, vn, and VIII of the FAC without prejudice pursuant

    to the Court's April 28, 2017 Order, including dismissing without prejudice all

    claims against Goldman Sachs, J.P. Morgan, Merrill Lynch, CIBC, Citigroup, DBS,

    TD, BMO, and SMBC. ECF No. 362-1. The Court entered an Order adopting the

    stipulation on October 5, 2018. ECF No. 363.

          On October 24, 2018, the following defendants filed their answers to the FAC:

    (i) the Stock Underwriter Defendants (Deutsche Bank, HSBC, MUFJ, DNB,

    Barclays, Morgan Stanley, RBC, and SunTrust) (ECF No. 375); (ii) Schiller (ECF


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   No. 376); (iii) PwC (ECF No. 377); (iv) Pearson (ECFNo. 378); (v) Valeant, Farmer,

    Goggins, Ingram, Kellen, Lonner, Melas-Kyriazi, Power, Provencio, Rosiello, and

    Stevenson (ECF No. 379); (vi) Carro (ECF No 380); and (vii) Jorn (ECF No. 381).

          On October 31, 2018, the ValueAct Defendants moved to dismiss Count I

    against defendant Ubben, and Counts III and IV in their entirety. ECF No. 387.

    Class Plaintiffs opposed on November 19, 2018 (ECF No. 401), and the ValueAct

    Defendants replied on November 28, 2018 (ECF No. 404).

          On January 14, 2019, Defendants Valeant, Pearson, Schiller, Rosiello, Kellen,

   Jorn, and Carro moved to dismiss the Timber Hill action. ECF No. 407. On

    February 5, 2019, Class Plaintiffs opposed the motion to dismiss and moved to strike

    it (ECF No. 416) and Timber Hill filed a separate opposition to the motion to dismiss

    (ECF No. 417). Defendants filed their reply on February 13, 2019. ECF No. 420.

          On June 30, 2019, the Court issued a Memorandum Opinion and Order

    denying the ValueAct Defendants' motion to dismiss. ECF Nos. 462-463. On July

    29, 2019, the ValueAct Defendants moved for a certificate of appealability to

    immediately appeal the Court's denial of the ValueAct Defendants' motion to

    dismiss. ECF No. 474. Class Plaintiffs opposed the motion on August 20, 2019

    (ECF No. 482) and the ValueAct Defendants replied on August 27, 2019 (ECF No.

    483). That motion remains pending.




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          On August 15, 2019, the Court issued a Memorandum Opinion and Order

    denying the motions to dismiss and strike the Timber Hill action, because the Timber

    Hill complaint is a "legal nullity at this point in the litigation." ECF No. 481.

          B.     Opt-Out Litigations

          Thirty-one cases have been filed by individual investors and groups of

    investors in Valeant securities (the "Opt-Out Litigations"). Some of the Opt-Out

    Litigations plead causes of action not pied in the Class Action, including claims

    under New Jersey's RICO statute, Section 18 of the Securities Exchange Act of

    1934, and New Jersey common law. 3 The status of the Opt-Out Litigations is as

    follows:

                 1.     Cases With Motions to Dismiss Pending
    • Catalyst Dynamic Alpha Fund, et al., v. Valeant Pharmaceuticals International,
      Inc., et al., No. 3:18-cv-12673, (Filed 8/10/18)4

                 2.     Cases With Motions to Dismiss Resolved on January
                        12,2018

    • T. Rowe Price Growth Stock Fund, Inc., et al. v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:16-cv-05034, (Filed 8/15/16)


    3
       Not all Defendants in the Class Action are named in each of the Opt-Out
    Litigations.
    4
       The Court granted Defendants' motion to dismiss the initial Complaint on May
    30, 2019, but granted Plaintiffs leave to file an amended complaint. Plaintiffs filed
    an Amended Complaint on July 1, 2019. Defendants moved to dismiss the Amended
    Complaint on August 15, 2019 and the parties will complete briefing on the motion
    to dismiss the Amended Complaint on October 14, 2019.


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    • Equity Trustees Limited as Responsible for T. Rowe Price Global Equity Fund,
      et al. v. Valeant Pharmaceuticals International, Inc., et al., No. 3:16-cv-06127,
       (Filed 9/26/16)
    • Principal Funds, Inc., et al. v. Valeant Pharmaceuticals International, Inc., et
      al., No. 3:16-cv-06128, (Filed 9/27/16)
    • BloombergSen Partners Fund LP, et al. v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:16-cv-07212, (Filed 10/13/16)
    • Discovery Global Citizens Master Fund, Ltd., et al. v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:16-cv-07321, (Filed 10/14/16)
    • MSD Torchlight Partners, L.P., et al. v. Valeant Pharmaceuticals International,
      Inc., et al., No. 3:16-cv-07324, (Filed 10/14/16)
    • BlueMountain Foinaven Master Fund L.P., et al. v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3: l 6-cv-07328, (Filed 10/14/16)
    • Incline Global Master LP, et al. v. Valeant Pharmaceuticals International, Inc.,
      et al., No. 3:16-cv-07494, (Filed 10/18/16)
    • VALIC Company L et al. v. Valeant Pharmaceuticals International, Inc., et al.,
       No. 3:16-cv-07496, (Filed 10/18/16)
    • Janus Aspen Series, et al. v. Valeant Pharmaceuticals International, Inc., et al.,
       No. 3:16-cv-07497, (Filed 10/18/16)

                  3.     Cases With Motions to Dismiss Resolved on July 31,
                         2018
    • Lord Abbett Investment Trust-Lord Abbett Short Duration Income Fund et al. v.
      Valeant Pharmaceuticals International, Inc., et al., No. 3:17-cv-06365, (Filed
       8/23/17)
    • Public Employees' Retirement System of Mississippi v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:17-cv-07625, (Filed 9/28/17)
    • The Boeing Company Employee Retirement Plans Master Trust and the Boeing
      Company Employee Savings Plans Master Trust v. Valeant Pharmaceuticals
      International, Inc., et al., No. 3:17-cv-07636, (Filed 9/28/17)



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                  4.     Cases With Motions to Dismiss Resolved on
                         September 14, 2018
     • Pentwater Equity Opportunities Master Fund LTD v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:17-cv-07552, (Filed 9/27/17)
     • Hound Partners Offshore Fund, LP, Hound Partners Long Master, LP, and
       Hound Partners Concentrated Master, LP v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:18-cv-08705, (Filed 1/4/18)
     • Blackrock Global Allocation Fund, Inc., et al. v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:18-cv-00343, (Filed 1/9/18)
                  5.     Cases With Motions to Dismiss Resolved On
                         September 26, 2018
     • New York City Employees' Retirement System, et al. v. Valeant Pharmaceuticals
       International, Inc., et. al., No. 3:18-cv-00032, (Filed 1/2/18)
                  6.     Cases With Motions to Dismiss Resolved on
                         December 10, 2018
     • 2012 Dynasty UC LLC, et al., v. Valeant Pharmaceuticals International, Inc., et
       al., No. 18-cv-08595, (Filed 4/30/18)
                  7.     Cases With Motions to Dismiss Resolved on
                         September 1O, 2019
     •      Northwestern Mutual Life Insurance Co., et al. v. Valeant Pharmaceuticals
            Inc., et al., No 3:18-cv-15286, (Filed 10/24/18)
     •      Bahaa Aly, et al. v. Valeant Pharmaceuticals International, Inc., et al., No.
            3:18-cv-17393, (Filed 12/19/18) (dismissed in full)
                  8.     Cases Where No Motions to Dismiss Will Be Filed
     • Okumus Opportunistic Value Fund, Ltd. v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:17-cv-6513, (Filed 8/29/17) (Motions to dismiss
         filed and withdrawn pursuant to stipulation)
     • Forsta AP-Fonden, et al., v. Valeant Pharmaceuticals International, Inc., et al.,
         No. 2:17-cv-12088, (Filed 11/27/17)


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     • State Board of Administration of Florida v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:17-cv-12808, (Filed 12/07/17)
     • The Regents of the University of California v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:17-cv-13488, (Filed 12/21/17)
     • GMO Trust, et al. v. Valeant Pharmaceuticals International, Inc., et al., 3: 18-cv-
       00089, (Filed 1/03/18)
     • Colonial First State Investments Limited As Responsible Entity for
       Commonwealth Global Shares Fund I, et al. v. Valeant Pharmaceuticals
       International, Inc., et al., No. 3:18-cv-00383, (Filed 1/10/18)
     • Bharat Ahuja, et al. v. Valeant Pharmaceuticals International, Inc., et al., No.
       3: 18-cv-00846, (Filed 1/19/18)
     • Brahman Capital Corp., et al., v. Valeant Pharmaceuticals International, Inc., et
       al., No. 3:18-cv-00893, (Filed 1/22/18)
     • The Prudential Insurance Company of America, et al., v. Valeant
       Pharmaceuticals International, Inc., et al., No. 3:18-cv-01223, (Filed 1/29/18)
                  9.    Cases That Have Been Voluntarily Dismissed
     • Senzar Healthcare Master Fund, LP and Blue Rock Liquid Alpha Fund, L.P., v.
       Valeant Pharmaceuticals International, Inc., et al., No. 2:18-cv-02286, (Filed
       2/16/18)
     II.   DISCOVERY CONDUCTED TO DATE IN THE CLASS
           ACTION
           A.     Party Discovery in the Class Action
           Prior to the Stay, Class Plaintiffs served their First Request for Production of

     Documents to Defendants Valeant and PwC, which, among other things, requested

     reproduction of documents provided to certain Investigating Agencies. Defendants

     Valeant and PwC have made several productions in response to Class Plaintiffs' First

     Requests. Valeant's production to cer tain Investigating Agencies is ongoing, and


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    Valeant is supplementing its productions to Class Plaintiffs on an ongoing basis.

    Class Plaintiffs are in the process of reviewing the documents produced and the

    parties are discussing matters relating to the production, privilege assertions, time

    period objections, and discovery disputes.

          Class Plaintiffs also served requests for production of documents on each of

    the Stock Underwriter Defendants, who produced certain responsive documents, and

    served Valeant with Lead Plaintiffs first set of interrogatories, to which Valeant

    responded and subsequently provided supplemental responses on June 12, 2018.

    Class Plaintiffs are meeting and conferring with Valeant regarding the sufficiency

    of the responses and supplemental responses to the interrogatories.

          On June 9, 2017 and June 30, 2017, the Stock Underwriter Defendants and

    PwC, respectively, served their first requests for production of documents on City

    of Tucson. The City of Tucson has responded to the document requests and

     produced documents on July 13, 2017, September 28, 2018 and August 23, 2019.

    On September 15, 2017, the Valeant Defendants served TIAA and City of Tucson

    with the Valeant Defendants' first request for production of documents. TIAA and

    City of Tucson provided written responses and objections on October 16, 2017. On

    August 20, 2018 and September 6, 2019, TIAA produced documents in response to

    the Valeant Defendants' first requests for production of documents. Class Plaintiffs




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     will meet and confer with the Valeant Defendants regarding further production of

     responsive documents.

           On September 18, 2017, PwC served City of Tucson with PwC's second

     request for production of documents. City of Tucson provided written responses and

     objections on October 18, 2017.

           On October 11 and 17, 2017, Class Plaintiffs served their second request for

     production of documents on PwC and Valeant, respectively. The response deadlines

     for these second requests for production were impacted by the filing of the ValueAct

     Defendants' motion to dismiss. PwC served written responses and objections on

     June 27, 2018. Valeant served written responses and objections on July 10, 2018.

     Valeant and PwC will continue to meet and confer with Class Plaintiffs regarding

     production of the documents that Valeant and PwC agree to produce pursuant to

     those responses and objections.

           On October 2, 2018, certain Valeant defendants served their second requests

     for production relating to TIAA's representation of the putative class. TIAA

     provided written responses and objections on September 9, 2019. On October 18,

     2018, certain Valeant defendants served IBEW with their first requests for

     production of documents. !BEW provided written responses and objections on

     August 28, 2019. Counsel for Class Plaintiffs and Defendants will meet and confer

     regarding the deadlines for responses to these discovery requests.


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          On October 18, 2018, PwC served City of Tucson with its third request for

    production of documents and first set of interrogatories. City of Tucson provided

    written responses and objections to PwC's third request for production ofdocuments

    on September 20, 2019. PwC will meet and confer with City of Tucson regarding

    City of Tucson's oqjections and the documents that City of Tucson has agreed to

    produce. City of Tucson has not responded to PwC's first set ofinterrogatories.

          On July 3, 2019, Lead Plaintiff TIAA served Valeant with its second set of

    interrogatories and first set of requests for admission. Valeant served responses and

    objections on September 13, 2019.

          B.     Third Party Discovery in the Class Action
          Class Plaintiffs served subpoenas on more than 100 third parties, including

    Philidor, investment banks, and analysts, Valeant investors and consultants, entities

    related to Valeant and Philidor, pharmacy benefit managers, and former employees

    ofValeant and Philidor. Some of those third parties completed production prior to

    the Stay, but the majority had not produced documents. Certain third parties

    continued to produce documents during and after the agreed stay of party discovery

    pending resolution of the ValueAct Defendants' motion to dismiss. Class Plaintiffs

    have been reviewing the documents that were produced and conducting numerous

    meet and confers with the other third parties to determine the scope of discovery

    disputes, negotiate objections, and to discuss the parameters of production, such as



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     the use of search terms and identification of document custodians. Class Plaintiffs

     also recently served additional third party subpoenas.

           Certain defendants have served subpoenas on more than 3 0 third parties,

     including Class Plaintiffs' investment advisors and other investment analysts.

     Defendants have been reviewing the documents produced and conducting numerous

     meet and confers with the third parties to determine the scope of discovery disputes,

     negotiate objections, and to discuss the parameters of production, such as the use of

     search terms and identification of document custodians.

           C.     Existing Discovery Disputes in the Class Action
           Prior to entry of the Stay, Class Plaintiffs had discovery disputes with non-

     parties Philidor and Cambria Pharmacies, Inc., which were the subject of joint letters

     submitted to Magistrate Judge Goodman on October 13, 2017. Following resolution

     of the Davenport-Tanner criminal trial, Class Plaintiffs began meeting and

     conferring with Philidor and Cambria to determine whether the discovery disputes

     remained.

           On October 26, 2018, Class Plaintiffs filed their motion to compel non-parties

     Philidor and the Philidor Network Entities (collectively, the "Philidor Entities") to

     produce documents in response to subpoenas. ECF No. 386. Following briefing, on

     April 12, 2019, the Court issued a Letter Opinion & Order granting Class Plaintiffs'

     motion. ECF No. 441. On May 17, 2019, Class Plaintiffs submitted a letter to



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     Magistrate Judge Goodman requesting that the Court order the Philidor Entities to

     comply with the Letter Opinion & Order. ECF No. 452. The Philidor Entities

    responded on May 23, 2019 (ECF No. 453) and Class Plaintiffs filed a responsive

    letter on May 24, 2019 (ECF No. 454). To date, the Philidor Entities have not

     produced any documents to Class Plaintiffs in response to the Letter Opinion &

    Order granting the motion to compel.

           D.    Additional Discovery Needed in the Class Action
           During the Rule 26(t) conference, the parties agreed that the scope of

    discovery was likely to be commensurate with complex litigation of this nature. The

    parties deferred addressing any amendment to the statutory limits for depositions

     (Rule 30(a)(2)) and interrogatories (Rule 33(a)(l)), until after document discovery

     has commenced. The parties agreed to reserve their rights to seek discovery relevant

     to claims or defenses identified during discovery and to object to such discovery

    requests. The parties anticipate requesting and/or producing computer-based or

     other electronically stored information and an Electronic Discovery Protocol was

     entered on October 16, 2017. ECF No. 271.

           The parties to the Class Action and Opt-Out Litigations have agreed that

     depositions in these and related cases will be coordinated subject to the parties

     agreeing to a deposition protocol before the commencement of depositions. If the




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    parties are unable to reach an agreement concerning a deposition protocol, the parties

    will submit competing proposals to the Special Master.

    III.   DISCOVERY IN THE OPT-OUT LITIGATIONS
           As a result of the temporary Stay, discovery was partially stayed in the Opt-

    Out Litigations. Pursuant to the Stipulation and Order Regarding Partial Stay

    entered in the Class Action and certain of the Opt-Out Litigations, Defendant

    Valeant has provided certain Opt-Out Litigation plaintiffs with access to the

    materials they produced in the Class Action in response to the Class Plaintiffs' first

    set of document requests, subject to the Confidentiality Order.

           The relevant Valeant Defendants in each of the Opt-Out Litigations served

    first requests for production of documents in all of the Opt-Out Litigations in

    October 2018, with the exception of the 2012 Dynasty action, where requests were

    served in July 2019 and the Blackrock action, where requests were served in August

    2019. Requests have not yet been served in the Catalyst and Northwestern actions.!

    Plaintiffs in each of the Opt-Out Litigations in which document requests were served

    provided written responses and objections in July 2019 with the exception of the

    2012 Dynasty action where responses and objections were provided in August 2019

    and the Blackrock action where responses were provided in September 2019.

           Answers have been filed in all pending Opt-Out Litigations except for

    Catalyst and Northwestern. The parties agreed by stipulation that Defendants will



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    file answers in Northwestern by November 12, 2019. A motion to dismiss Catalyst

    remains pending.

    IV.   ESTIMATE ON THE TIME NEEDED TO COMPLETE
          DISCOVERY
          The parties in all actions have proposed the schedule for discovery and trial-

    related deadlines in the table below:

                       Action                             Proposed Dates
     Deadline for substantial completion of              December 2, 2019
     document productions related to class
     certification issues, with productions to
     be made on a rolling basis in advance of
     this date
     Deadline for completion of depositions               January 21, 2020
     sought by Defendants related to class
     certification issues
     Deadline for Defendants to serve Class              February 13, 2020
     Plaintiffs with Opposition to Class
     Certification Motion
     Deadline for completion of depositions               March 31, 2020
     sought by Plaintiffs related to class
     certification issues
     Deadline for Class Plaintiffs to serve                 May 1, 2020
     Defendants with Reply in Support of
     Class Certification, Notify Court of
     Completion of Class Certification
     Briefing, and file all class certification
     briefing with the Court




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                      Action                                  Proposed Dates
     Deadline for substantial completion of                     May 6, 2020
     any document productions in response
     to any requests for production served by
     November 15, 2019, with productions
     in response to those requests to be made
     on a rolling basis in advance of this date
     Deadline to meet and confer regarding                      May 6, 2020
     protocol for depositions

     Deadline     for service of all                         December 21, 2020
     interrogatories, requests for admission,
     and requests for production
     Fact Discovery Cutoff                                   February 18, 2021
     Deadline to serve affirmative expert                       May 17, 2021
     reports
     Deadline to serve rebuttal expert reports                August 23, 2021
     Deadline to serve reply expert reports                  November 1, 2021
     Expert Discovery Cutoff                                November 15, 2021
     Deadline to file Dispositive Motion(s)                   January 18, 2021
     Deadline to file Opposition(s) to                         March 14, 2022
     Dispositive Motion(s)
     Deadline to file Reply in support of                      April 28, 2022
     Dispositive Motion(s)
     Deadline for objection(s) to proposed             90 days before the final pretrial
     expert testimony under FRE 702                              conference
     Opposition to any objection(s) to                 60 days before the final pretrial
     proposed expert testimony under FRE                         conference
     702


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                       Action                                Proposed Dates
      Reply in support of any objection(s) to         30 days before the final pretrial
      proposed expert testimony under FRE                       conference
      702
      Deadline for parties to designate               45 days before the final pretrial
      potential trial witnesses and proposed                    conference
      exhibits
      Deadline for parties to file a joint set of     45 days before the final pretrial
      jury instructions, proposed jury                          conference
      instructions which are objected to by
      any other party and points and
      authorities in support of and in
      opposition to the objected to
      instructions
      Final Pretrial Conference                                    TBD
      Proposed Trial Date                                          TBD

     V.    EXPERT TESTIMONY
           The parties in the Class Action and the Opt-Out Litigations anticipate that

     expert testimony will be necessary.

     VI.   LIMITATIONS ON DISCOVERY DEVICES
           None requested at this time.

     VII. SPECIAL DISCOVERY NEEDS
           None known at this time.




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     VIII. CONFIDENTIALITY ORDER
           A.     Class Action
           On June 18, 2017, the Court entered an Order approving the parties,

     Stipulation artd Confidentiality Order in the Class Action. See ECF No. 244. On

     March 12, 2019, the Court entered an Order approving the parties' Amended

     Stipulation and Confidentiality Order. ECF No. 429.

           B.     Opt-Out Litigations
           The Confidentiality Order has also been entered in certain of the Opt-Out

     Litigations. See, e.g., T. Rowe Price Action (ECF No. 89); CFSIL Action (ECF No.

     24); NYCERS Action (ECF No. 42); Ahuja Action (ECF No. 22).

     IX.   DISPUTE RESOLUTION
           The parties do not believe there is a need for alternative dispute resolution.

     On September 10, 2019, Judge Shipp appointed Judge Dennis M. Cavanaugh as the

     Special Master to resolve all pending and future discovery disputes, and issue reports

     and recommendations regarding all pending and future motions, and all pre-trial

     motions. ECF No. 484.

     Dated: September 30, 2019                        SO ORDERED




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